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    IT IS ORDERED as set forth below:



    Date: July 19, 2016
                                                       _________________________________

                                                                   Paul W. Bonapfel
                                                             U.S. Bankruptcy Court Judge
  _______________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                               :                       CHAPTER 7
                                     :
HP/SUPERIOR, INC.                    :                       CASE NO. 14-71797 - PWB
                                     :
       Debtor.                       :
                                     :
                                     :
IN RE:                               :                       CHAPTER 7
                                     :
SUPERIOR HEALTHCARE INVESTORS, INC., :                       CASE NO. 15-50439 - PWB
                                     :
       Debtor.                       :
                                     :

                      ORDER APPROVING SETTLEMENT AGREEMENT

            On June 17, 2016, S. Gregory Hays, as Chapter 7 Trustee (“Trustee Hays”) for the

bankruptcy       estate   (the   “HP/Superior   Bankruptcy     Estate”)   of   HP/Superior,     Inc.

(“HP/Superior”), filed his Motion for Order: (A) Authorizing Settlement Between Trustee, CSE

Mortgage, LLC, and the Chapter 7 Trustee for the Bankruptcy Estate of Superior Healthcare

Investors, Inc. under Federal Rules of Bankruptcy Procedure Rule 9019; (B) Establishing the



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Extent and Priority of the Security Interest of CSE Mortgage, LLC in Accordance with the

Proposed Settlement; (C) Compelling Scroggins & Williamson, P.C. to Turn Over Property of

the Estate; (D) Authorizing the Chapter 7 Trustee for the Bankruptcy Estate of Superior

Healthcare Investors, Inc. to Turn Over Property to Trustee; and (E) Authorizing Trustee to

Make Certain Distributions of Property of the Estate in Accordance with the Proposed

Settlement [Doc. No. 201; Case No. 14-71797-PWB] (the “HP/Superior Settlement Motion”).1

In the HP/Superior Settlement Motion, Trustee Hays requests, inter alia, that the Court approve a

Settlement Agreement (the “Settlement Agreement”) between Trustee Hays, CSE Mortgage

LLC (“CSE Mortgage”), and Cathy L. Scarver, as Chapter 7 Trustee (“Trustee Scarver”) for

the bankruptcy estate (the “SHI Bankruptcy Estate”) of Superior Healthcare Investors, Inc.

(“SHI”) and make certain findings related to the extent, validity, and priority of CSE Mortgage’s

asserted lien rights.

            On June 17, 2016, Trustee Hays filed a notice of hearing [Doc. No. 202; Case No. 14-

71797-PWB] (the “HP/Superior Notice”) noticing a hearing on the HP/Superior Settlement

Motion on July 12, 2016 at 10:00 a.m. (Eastern) (the “HP/Superior Hearing”).

            On June 19, 2016, Trustee Scarver filed her Motion for Order: (A) Authorizing Settlement

Between Trustee, CSE Mortgage, LLC, and the Chapter 7 Trustee for the Bankruptcy Estate of

HP/Superior, Inc. under Federal Rules of Bankruptcy Procedure Rule 9019; (B) Establishing the

Extent and Priority of the Security Interest of CSE Mortgage, LLC in Accordance with the

Proposed Settlement; (C) Compelling Scroggins & Williamson, P.C. to Turn Over Property of



1
       Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the HP/Superior Settlement Motion [Doc. No. 201].


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the Estate; (D) Modifying the Automatic Stay for CSE Mortgage, LLC to Exercise its Rights and

Remedies under the SHI Assignment of Leases and Rents in Accordance with the Proposed

Settlement; (E) Authorizing the Chapter 7 Trustee to Turn Over Property to the Chapter 7

Trustee for the Bankruptcy Estate of HP/Superior, Inc. in Accordance with the Proposed

Settlement; and (F) Authorizing Trustee to Make Certain Distributions of Property of the Estate

in Accordance with the Proposed Settlement [Doc. No. 172; Case No. 15-50439-PWB]

(the “SHI Settlement Motion” and collectively with the HP/Superior Settlement Motion,

the “Settlement Motions”). In the SHI Settlement Motion, Trustee Scarver requests, inter alia,

that the Court approve the Settlement Agreement and make certain findings related to the extent,

validity, and priority of CSE Mortgage’s asserted lien rights.

            On June 19, 2016, Trustee Scarver filed a notice of hearing [Doc. No. 172; Case No. 15-

50439-PWB] (the “SHI Notice”) noticing a hearing on the SHI Settlement Motion on July 12,

2016 at 10:00 a.m. (Eastern) (the “SHI Hearing” and collectively with the HP/Superior Hearing,

the “Hearing”).

            Counsel for Trustee Hays filed a certificate of service, in which he represents that he

served the HP/Superior Notice on all requisite creditors and parties in interest. [Doc. No. 203;

Case No. 14-71797-PWB]. Counsel for Trustee Scarver filed certificates of service, in which

she represents that she served the SHI Notice on all requisite creditors and parties in interest.

[Doc. Nos. 172 and 174; Case No. 15-50439-PWB].

            No creditor or party in interest filed an objection to the relief requested in the Settlement

Motions. Counsel for Trustee Hays, counsel for Trustee Scarver, counsel for CSE Mortgage, and

counsel for HP/Superior appeared at the Hearing. No creditor or party in interest appeared at the

Hearing to oppose the relief requested in the Settlement Motions.




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            The Court having considered the Settlement Motions and the entire record in the

bankruptcy cases of HP/Superior and SHI, and for good cause shown and based on the

presentations of counsel for Trustee Hays, Trustee Scarver, and CSE Mortgage at the Hearing, it

is hereby

            FOUND and DETERMINED that the Settlement Agreement is in the best interests of

the HP/Superior Bankruptcy Estate and its creditors and the SHI Bankruptcy Estate and its

creditors. It is further

            FOUND and DETERMINED that CSE Mortgage has a first priority security interest in

and to the HP/Superior Sales Proceeds and the Medicaid Funds in an amount equal to

$755,677.20. It is further

            FOUND and DETERMINED that CSE Mortgage has a first priority security interest in

and to the SHI Sales Proceeds in an amount equal to $707,687.83. It is further

            FOUND and DETERMINED that the notice of the Settlement Motions and Hearing was

appropriate under the Bankruptcy Rules and the circumstances of HP/Superior’s bankruptcy case

and SHI’s bankruptcy case. It is further

            ORDERED that the HP/Superior Settlement Motion and the SHI Settlement Motion are

GRANTED. It is further

            ORDERED that the Settlement Agreement is APPROVED and the terms set forth

therein are incorporated herein by reference. It is further

            ORDERED that CSE Mortgage’s Proof of Claim (Claim No. 5-1; Case No. 14-71797-

PWB) filed in the HP/Superior bankruptcy case is hereby amended and allowed as a first priority

secured claim in the amount of $755,677.20, without further order of the Court (the “CSE

Mortgage Allowed Claim”). It is further




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            ORDERED that CSE Mortgage’s agreement to provide the HP/Superior Bankruptcy

Estate with the HP/Superior Estate Carve-Out in the amount of $187,089.03 is APPROVED. It

is further

            ORDERED that CSE Mortgage’s agreement to provide the SHI Bankruptcy Estate with

the SHI Estate Carve-Out in the amount of $55,000.00 is APPROVED. It is further

            ORDERED that Trustee Hays is authorized and directed to make the CSE-HP/Superior

Claim Payment to CSE Mortgage in the amount of $559,889.50, consistent with the terms of the

Settlement Agreement. It is further

            ORDERED that the CSE Mortgage Allowed Claim shall be deemed satisfied once

Trustee Hays makes the $559,889.50 CSE-HP/Superior Claim Payment to CSE Mortgage

required under the Settlement Agreement and this Order and once the HP/Superior Estate Carve-

Out is distributed consistent with the terms of the Settlement Agreement and the Bankruptcy

Code. It is further

            ORDERED that Trustee Scarver is authorized and directed to make the CSE-SHI Claim

Payment to CSE Mortgage in the amount of $652,687.83, consistent with the terms of the

Settlement Agreement. It is further

            ORDERED that Scroggins & Williamson, P.C. is authorized and directed to transfer the

HP/Superior Sales Proceeds in the amount of $58,287.70 to Trustee Hays within five (5) days of

the entry of this Order. It is further

            ORDERED that Scroggins & Williamson, P.C. is authorized and directed to transfer the

SHI Sales Proceeds in the amount of $707,687.83 to Trustee Scarver within five (5) days of the

entry of this Order.

            ORDERED that the automatic stay in the SHI bankruptcy case is modified to the extent




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necessary to allow CSE Mortgage to exercise any and all of its rights and remedies under the

SHI Assignment of Leases and Rents in accordance with Section 2.12 of the Settlement

Agreement. It is further

            ORDERED that Trustee Scarver is authorized and directed to transfer to Trustee Hays

the HP/Superior Funds in the approximate amount of $1,062.83, less any bank fees, consistent

with the terms of the Settlement Agreement. It is further

            ORDERED that Trustee Hays and Trustee Scarver may take any other actions necessary

to effectuate the terms of the Settlement Agreement without further order from this Court. It is

further

            ORDERED that this Court retains jurisdiction (i) to interpret, implement, and enforce

this Order, (ii) to resolve any disputes regarding or concerning the Settlement Agreement, and

(iii) to enter such other and further orders as may be necessary, just, or proper as an aid to

enforcement or implementation of this Order.

                                      [END OF DOCUMENT]




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Order prepared and presented by:

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Identification of parties to be served:

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